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                       Pei IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


AQUAPAW BRANDS LLC,
                                                   2:21-cv-01784-CCW
                     Plaintiff,
                                                   FILED UNDER SEAL
v.


YAN-PENG, et al.,

                    Defendants.



 1) TEMPORARY RESTRAINING ORDER; 2) ORDER RESTRAINING ASSETS AND
MERCHANT STOREFRONTS; 3) ORDER TO SHOW CAUSE WHY A PRELIMINARY
 INJUNCTION SHOULD NOT ISSUE; AND 4) ORDER AUTHORIZING EXPEDITED
                           DISCOVERY

         This matter is before the Court upon Plaintiff’s Ex Parte Application for the following:

1) a temporary restraining order; 2) an order restraining assets and Merchant Storefronts (as

defined infra); 3) an order to show cause why a preliminary injunction should not issue; and 4)

an order authorizing expedited discovery against the Defendants identified on Schedule “A” to

the Complaint and attached hereto (collectively, the “Defendants”). The Court has considered

the Application, the evidence in the record, and the applicable law.

         By the instant Application, Plaintiff AquaPaw Brands LLC moves ex parte pursuant to 35

U.S.C. § 283, Federal Rules of Civil Procedure 64 and 65, and The All Writs Act, 28 U.S.C. §

1651(a), for entry of a temporary restraining order and an order restraining assets and Merchant

Storefronts, for violations of the Patent Act. Because Plaintiff has satisfied the requirements for

the issuance of a temporary restraining order, and good cause is shown, the Court grants

Plaintiff’s Application.
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                      FACTUAL FINDINGS & CONCLUSION OF LAW

         1.     Plaintiff, AquaPaw Brands LLC, is likely to prevail on its Patent Act claim at

trial.

         2.     Plaintiff sells its dog soothing product under the U.S. registered trademark Slow

Treater®.

         3.     The innovative features of Plaintiff’s Product are the subject of U. S. Patent No.

10,834,894 entitled “Animal Feeder System and Method of Use” (the “Plaintiff’s Patent”).

         4.     Defendants, by operating Internet based e-commerce stores, and fully interactive,

commercial Internet websites operating under Defendants’ respective seller identities set forth on

Schedule “A” hereto (the “Seller IDs”), have advertised, promoted, sold, and offered for sale that

Plaintiff has determined is not a genuine Slow Treater® product and infringe at least one claim of

the Plaintiff’s Patent.

         5.     Through the e-commerce marketplace platform, Plaintiff accessed all of the e-

commerce stores operating under Defendants’ Seller IDs and captured the Defendants’ listings at

issue on the e-commerce stores. At the conclusion of the process, the detailed webpages and

photographs were inspected by Plaintiff’s representative who confirmed that each Defendant is

offering for sale products and infringe upon at least one claim of the Plaintiff’s Patent

(“Infringing Products”).

         6.     Plaintiff, as well as consumers and animal owners, are likely to suffer immediate

and irreparable losses, damages and injuries before Defendants can be heard in opposition,

unless Plaintiff’s Application for ex parte relief is granted. There is good cause to believe that

the unauthorized and unlicensed offering for sale and sale of Infringing Products will continue in



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the marketplace; that consumers are likely to be misled, confused, and disappointed by the

quality of the products so advertised, and that Plaintiff may suffer loss of sales for their genuine

products and an unnatural erosion of the legitimate marketplace in which they operate. There is

also good cause to believe that if Plaintiff were to proceed on notice to Defendants of this

Application, Defendants can easily and quickly change the ownership or modify e-commerce

store account data and content, change payment accounts, redirect consumer traffic to other

seller identification names, and transfer assets and ownership of Seller IDs, thereby thwarting

Plaintiff’s ability to obtain meaningful relief. As other courts have recognized, proceedings

against those who deliberately traffic in infringing merchandise are often useless if notice is

given to the adverse party.

        7.      The balance of potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, their reputation, and their goodwill as a

manufacturer and distributor of quality products, if such relief is not issued.

        8.      The public interest favors issuance of the temporary restraining order in order to

protect Plaintiff’s interests and protect the public from being deceived and defrauded by the

passing off of Defendants substandard goods as Plaintiff’s genuine goods.

        9.      Under Pennsylvania law this Court may issue a prejudgment asset restraint where

Plaintiff’s complaint asserts a claim for money damages. Therefore, this Court has the authority

to grant Plaintiff’s request for a prejudgment asset freeze to preserve the relief sought by Plaintiff

and preserve the Defendants’ ability to at least partially satisfy a judgment.

        10.     Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiff the records and documents


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relating to Defendants’ illegal and infringing activities. Therefore, Plaintiff have good cause to

be granted expedited discovery.

                                                      ORDER

         Based on the foregoing findings of fact and conclusions of law, Plaintiff’s Application is

hereby GRANTED as follows (the “Order”):

                                      I. Temporary Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that each Defendant, its

     officers, directors, employees, agents, subsidiaries, distributors, and all persons in active

     concert or participation with any Defendant having notice of this Order are hereby restrained

     as follows:

     (1) from (a) their unauthorized and unlicensed use of Plaintiff’s Patent, distribution,

         marketing, advertising, offering for sale, or sale of any Infringing Products; and (b)

         shipping, delivering, holding for sale, transferring or otherwise moving, storing,

         distributing, returning, or otherwise disposing of, in any manner products that infringe

         upon at least one claim of the Plaintiff’s Patent;

     (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

         disposing of and/or dealing with any computer files, data, business records, documents or

         any other records or evidence relating to their User Accounts,1 Merchant Storefronts2 or


1
     As defined in the Complaint, a “User Account” is any and all accounts with online marketplace platforms,
     including Amazon.com, eBay.com, aliexpress.com and wish.com, as well as any and all as yet undiscovered
     accounts with additional online marketplace platforms held by or associated with Defendants, their respective
     officers, employees, agents, servants and all other persons in active concert with any of them.
2
     As defined in the Application, a “Merchant Storefront” is any and all User Accounts through which Defendants,
     their respective officers, employees, agents, servants and all persons in active concert or participation with any
     of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer


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     any money, securities or other property or assets of Defendants (hereinafter collectively

     referred to as “Defendants’ Assets”);

 (3) effecting assignments or transfers, forming new entities or associations, or creating

     and/or utilizing any other platform, User Account, Merchant Storefront or any other

     means of importation, exportation, advertising, marketing, promotion, distribution, and/or

     display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

     in this Order;

 (4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

     all persons in active concert or participation with any Defendant having notice of this

     Order shall immediately cease offering for sale the Infringing Products within metatags

     or other markers within website source code, from use on any web page (including as the

     title of any product listing), from any advertising links to other websites, from search

     engines’ databases or cache memory, and any other form of use such terms or works

     which is visible to a computer user or serves to direct computer searches to Internet based

     e-commerce stores owned, or operated by each Defendant, including the Merchant

     Storefronts operating under the Seller IDs;

 (5) each Defendant shall not transfer ownership of the User Accounts or Merchant

     Storefronts associated with the Seller IDs;

 (6) each Defendant shall preserve copies of all computer files relating to the use of any User

     Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary




 for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
 officers, employees, agents, servants and all persons in active concert or participation with any of them.


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         to retrieve computer files relating to the use of the User Accounts and/or Merchant

         Storefronts under their Seller IDs that may been deleted before the entry of this Order;

     (7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com (“Aliexpress”),

         Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

         (“Amazon”), eBay, Inc. d/b/a eBay.com (“eBay”), and Context Logic, Inc d/b/a

         wish.com (“Wish”) (“Third Party Service Provider(s)’’) and AliPay US Inc. d/b/a

         Alipay.com (“Alipay”), Amazon Payments, Inc. d/b/a pay.amazon.com, and PayPal, Inc.

         d/b/a paypal.com (“PayPal”) (“Financial Institution(s)”), and their related companies and

         affiliates, shall immediately identify and restrain all funds, as opposed to ongoing account

         activity, in or which are hereafter transmitted into the accounts related to the Defendants

         as identified on Schedule “A” hereto, as well as all funds in or which are transmitted into

         (i) any other accounts of the same customer(s); (ii) any other accounts which transfer

         funds into the same financial institution account(s), and/or any of the other accounts

         subject to this Order; and (iii) any other accounts tied to or used by any of the Seller IDs

         identified on Schedule “A” hereto;3

     (8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

         processors, banks, escrow services, money transmitters, or marketplace platforms,

         including but not limited to the Third Party Service Provider(s) and the Financial

         Institution(s), shall immediately divert to a holding account for the trust of the Court all

3
     This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
     other Third-Party Service Providers and Financial Institutions and that the additionally discovery Third Party
     Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
     the discovery, restraints and injunctions set forth in this Order.


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    funds in or which are hereafter transmitted into all accounts related to Defendants

    identified in Schedule “A” hereto, and associated payment accounts, and any other

    accounts for the same customer(s) as well as any other accounts which transfer funds into

    the same financial institution account(s) as any other accounts subject to this Order;

 (9) The Third Party Service Provider(s) and Financial Institution(s) shall further, within five

    (5) business days of receiving this Order, provide Plaintiff’s counsel with all data that

    details (i) an accounting of the total funds restrained and identifies the financial

    account(s) which the restrained funds are related to, and (ii) the account transactions

    related to all funds transmitted into financial account(s) which have been restrained.

    Such restraining of the funds and the disclosure of the related financial institution account

    information shall be made without notice to the account holders, until after those

    accounts are restrained. No funds restrained by this Order shall be transferred or

    surrendered by any Third Party Service Provider or Financial Institution for any purpose

    (other than pursuant to a chargeback made pursuant to that Third Party Service Provider

    or Financial Institution’s security interest in the funds) without express authorization of

    this Court;

 (10) Upon Plaintiff’s request, any Internet marketplace who is provided with notice of this

    Order, including but not limited to the Third Party Service Provider(s) and Financial

    Institution(s), shall immediately cease fulfillment of and sequester Defendants’ inventory

    assets corresponding to the Seller IDs identified on Schedule “A” hereto in its inventory,

    possession, custody, or control, and hold such goods in trust for the Court during

    pendency of this action;




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   (11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

      and any other seller identification names, Accounts or Merchant Storefronts, Third Party

      Service Provider or Financial Institution accounts which are being used by Defendants

      for the purpose of infringing on at least one claim of the Plaintiff’s Patent;

   (12) Defendants and all financial institutions, payment processors, banks, escrow services,

      money transmitters, or marketplace platforms, including but not limited to the Third Party

      Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

      Court to modify the asset restraint set out in this Order; and

   (13) this Order shall remain in effect until the date for the hearing to show cause why a

      preliminary injunction should not be issued as set forth below, or until such further dates

      as set by the Court or stipulated by the parties.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiff’s

   request, any Internet marketplace who is provided with notice of this Order, including but not

   limited to the Third Party Service Providers and Financial Institutions, is hereby restrained

   and enjoined from engaging in any of the following acts or omissions pending the hearing

   and determination of Plaintiff’s Application for a preliminary injunction, or until further

   order of the Court:

   (1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

      paying Defendants’ Assets from or to financial accounts associated with or

      utilized by any Defendant or any Defendant’s User Accounts or Merchant

      Storefront(s) (whether said account is located in the U.S. or abroad)

      (“Defendants’ Financial Accounts”) until further ordered by this Court; and




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     (2) within (5) days after receiving notice of this Order, providing services to Defendants,

        Defendants' User Accounts and Defendants' Merchant Storefronts, including, without

        limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

        and any other listings linked to the same sellers or linked to any other alias seller

        identification names being used and/or controlled by Defendants.

C.      IT IS HEREBY ORDERED, as sufficient cause has been shown, that, upon Plaintiffs’

request, within no later than five (5) calendar days of Plaintiffs’ request:

        The Plaintiff has demonstrated that the following products as pictured in the attached

Schedule “B” are either made, used by, offered for sale or sold into the United States contain

every element or equivalent of at least one claim of the Plaintiff’s Patent; consequently, all

online marketplaces, including but not limited to, Amazon.com, ebay.com, aliexpress.com, and

wish.com, shall upon receipt of this Order, suspend, block, tombstone, and/or delete any and any

product listings identified by the Plaintiff as either identical or substantially similar, to the above-

described products in Schedule “B”, whether sold by the Defendant or other persons or entities.

                    II. Order to Show Cause Why a Preliminary Injunction
                            Should Not Issue and Service of Order

     A. Defendants are hereby ORDERED to show cause before this Court in the United States

District Court for the Western District of Pennsylvania, via ZoomGov videoconference on the

23rd day of December, 2021, at 9:00 a.m., why a preliminary injunction, pursuant to FRCP

65(a), should not issue. Defendants are on notice that failure to appear at the hearing may

result in the imposition of a preliminary injunction against them.




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      B. Opposing papers, if any, shall be filed electronically with the Court and served on

Plaintiff’s counsel by delivering copies thereof to the office of Ference & Associates LLC at 409

Broad Street, Pittsburgh, Pennsylvania 15143 before December 16, 2021. Plaintiff shall file any

Reply papers on or before December 21, 2021.

       C. After Plaintiff’s counsel has received confirmation from the Third Party Service

Providers and Financial Institutions or otherwise, regarding the restraint of funds directed herein,

Plaintiff shall serve copies of the Complaint, the Application, this Order, and any Discovery on

each Defendant via their corresponding email/online contact form provided on the Internet based

e-commerce stores operating under the respective Seller IDs, or by providing a copy of this order

by e-mail to the marketplace platform, which in turn notifies each Defendant of the Order, or by

other means reasonably calculated to give notice which is permitted by the Court. In addition,

Plaintiff shall post copies of the Complaint, Application, this Order, any Discovery, and all other

pleadings and documents filed in this action on a website designated by Plaintiff,4 and shall

provide the website address to Defendants via e-mail/online contact form, and such notice so

given shall be deemed good and sufficient service thereof. Plaintiff shall continue to provide

notice of these proceedings and copies of the documents on file in this matter to Defendants by

regularly updating the website designated by Plaintiff or by other means reasonably calculated to

give notice which is permitted by the Court.

                               III. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:



4
     Rule 65 has been interpreted to require that a party have notice of the motion and hearing; perfecting service on
     a defendant is not a prerequisite to the entry of a preliminary injunction order. Pate v. Gov’t of the Virgin
     Islands, 2015 WL 1937701 n.9 (VI Sup. Ct. April 17, 2015); Corrigan Dispatch Co. v. Casa Guzman, S.A., 569
     F.2d 300, 302 (5th Cir. 1978).


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   (1) Plaintiff may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

      of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

      and attorneys, and all persons in active concert or participation with any of them, who

      receive actual notice of this Order, shall provide written responses under oath to such

      interrogatories within fourteen (14) days of service to Plaintiff’s counsel.

   (2) Plaintiff may serve requests for the production of documents pursuant to FRCP 26 and

      34, and Defendants, their respective officers, employees, agents, servants and attorneys,

      and all persons in active concert or participation with any of them, who receive actual

      notice of this Order, shall produce all documents responsive to such requests within

      fourteen (14) days of service to Plaintiff’s counsel.

   (3) Plaintiff may serve requests for admissions pursuant to FRCP 26 and 36, and Defendants,

      their respective officers, employees, agents, servants and attorneys, and all persons in

      active concert or participation with any of them, who receive actual notice of this Order,

      shall provide written responses under oath to such requests within fourteen (14) days of

      service to Plaintiff’s counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen (14)

   days of receiving actual notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to the Third Party Service Provider(s) and the Financial

   Institution(s), shall provide to Plaintiff’s counsel all documents and records in their

   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants’

   User Accounts and Defendants’ Merchant Storefronts, including, but not limited to,

   documents and records relating to:


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   (1) any and all User Accounts and Defendants’ Merchant Storefronts and account details,

       including, without limitation, identifying information and account numbers for any and

       all User Accounts and Defendants’ Merchant Storefronts that Defendants have ever had

       and/or currently maintain with the respective Third-Party Service Provider;

   (2) the identities, location and contact information, including any and all e-mail addresses of

       Defendants that were not previously provided;

   (3) the Defendants’ methods of payment, methods for accepting payment and any and all

       financial information, including, but not limited to, information associated with

       Defendants’ User Accounts and Defendants’ Merchant Storefronts, a full accounting of

       Defendants’ sales history and listing history under such accounts and Defendants’

       Financial Accounts associated with Defendants’ User Accounts and Defendants’

       Merchant Storefronts; and

   (4) Defendants’ unauthorized and unlicensed use of Plaintiff’s Patent.

                                        V. Security Bond

       IT IS FURTHER ORDERED that Plaintiff shall place security (corporate surety bond,

cash, certified check, or attorney’s check) in the amount of $5,000.00 with the Court, which

amount is determined adequate for the payment of any damages any person may be entitled to

recover as a result of an improper or wrongful restraint ordered hereunder. If security is cash,

certified check, or attorney’s check, the funds will be deposited into the Court’s local Registry,

where it will remain until further order by the Court.




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                                      VI. Summons

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single original

summons in the name of “YAN-PENG and all other Defendants identified in the Complaint” that

will apply to all Defendants.

SO ORDERED.

SIGNED this 10th day of December, 2021, at 11:10 a.m.
Pittsburgh, Pennsylvania



                                          /s/ Christy Criswell Wiegand
                                          Christy Criswell Wiegand
                                          UNITED STATES DISTRICT JUDGE




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                         Schedule “A”
            Defendants With Store Name and Seller ID

        Defendant       Defendant/Store Name           Seller ID
           No.
             1               YAN-PENG              APRS7L5QB3O6I
             2               Autokcan-US         A3CD3KMLDAEHLY
             3            Best Audio Parts        AM3THD1YB84UJ
             4           Billie Bean Products     AF8PD09LOCKDZ
             5                CaiFangUS          A20SWMYVN9FY22
             6                 Carhersv           A3D24GB5VLY188
             7                  Cheeglu           AXO9CM8UP5A34
             8         Daeg's Convenient Store    A12ALJ5QHA3FZG
             9               Don Gato Inc           AJX6I0JKFP45
            10        DONGPACHUSHANGMAO           A2JRGK545PH87B
            11            EASY FASHION           A3QUKMC3D0EOOS
            12                EAVPORT             A2QYI06Z4G0DHT
            13                  Hicomie          A3F2R1VQ18MFWS
            14                    H-Jia           A17ANGFIBHSJIK
            15                 HRZESZ              AHJ885HOGU3Q0
            16            HUIJIAJUNHAO            A26SYHFTNYI47H
            17                  Jondarla          A8UAMTZJ5ZAJD
            18               KingworaUS           A38ATRQ77SF83A
            19                  LAVILI             A5L1OB518V6G3
            20                  Lite Life        A17THLV21WLLNN
            21          Markhor Traders INC      A1IQPNNBWJPTMK
            22                MarryMoo            A2B0MBNGJV21ZL
            23                   Matier          A3TJ2NMQTL7NBR
            24               Mozart Casa         A3DMEUGJ06OBHE
            25                   pqzeng          A1MFL2UY5ZYBUR
            26             Pusner lucewin         A2VAV82LIPFH8Z
            27                    SEIS            A2J48VPNHFM62H
            28               SHUIRONG            A3K1Q6FWAM5WGS
            29              Starlight Sonic      A14TXAOY4LDXAK
            30                True Glory          ABYMYWJLRBHIZ
            31                 UnisonPet         A1YK7QZYEGZR0X
            32                 Vcostore           A2S8HU9W2R12U


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        Defendant       Defendant/Store Name           Seller ID
           No.
            33             VECT TOOLS            AYEGYN0BURYEQ
            34           VIRTUALUNIQUE           A27YNWJYO0XQ0Y
            35               XMXJT                ASL7SI7FWUNX6
            36               YWZSP                AR8EW24K5FSKL




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                         Schedule “B”
         Defendant/Store Names and Infringing Products

     Defendant
                  Defendant/Store Name           Screen shot
        No.
          1              YAN-PENG




          2              Autokcan-US




          3            Best Audio Parts




          4           Billie Bean Products




          5               CaiFangUS




          6                Carhersv




          7                Cheeglu




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     Defendant
                  Defendant/Store Name           Screen shot
        No.
          8         Daeg's Convenient Store




          9              Don Gato Inc




         10       DONGPACHUSHANGMAO




         11            EASY FASHION




         12               EAVPORT




         13                Hicomie




         14                 H-Jia




         15                HRZESZ




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     Defendant
                  Defendant/Store Name           Screen shot
        No.
         16            HUIJIAJUNHAO




         17               Jondarla




         18             KingworaUS




         19               LAVILI




         20               Lite Life




         21          Markhor Traders INC




         22              MarryMoo




         23                Matier




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     Defendant
                  Defendant/Store Name           Screen shot
        No.
         24              Mozart Casa




         25                pqzeng




         26             Pusner lucewin




         27                 SEIS




         28              SHUIRONG




         29             Starlight Sonic




         30              True Glory




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     Defendant
                  Defendant/Store Name           Screen shot
        No.
         31              UnisonPet




         32               Vcostore




         33             VECT TOOLS




         34           VIRTUALUNIQUE




         35               XMXJT




         36               YWZSP




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                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 AQUAPAW BRANDS LLC,
                                                   2:21-cv-01784-CCW
                      Plaintiff,
                                                   FILED UNDER SEAL
 v.


 YAN-PENG, et al.,

                      Defendants.



      ORDER ON PLAINTIFF’S EX PARTE MOTION FOR AN ORDER AUTHORIZING
      ALTERNATIVE SERVICE ON DEFENDANTS PURSUANT TO FEDERAL RULE OF
                           CIVIL PROCEDURE 4(f)(3)


        AND NOW, this 10th day of December, 2021, upon consideration of Plaintiff’s Ex Parte

Motion for an Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule of Civil

Procedure 4(f)(3),

        IT IS HEREBY ORDERED that said Motion is GRANTED;

        IT IS FURTHER ORDERED that Plaintiff are authorized to make alternative service of the

Summonses, the Complaint, any discovery, and all filings in this matter upon each Defendant in this

action, as follows:

1. via e-mail by providing the address to Plaintiff’s designated website to Defendants via (i) the e-

        mail accounts provided by Defendants as part of the data related to their respective e-

        commerce stores, or (ii) the e-commerce marketplace for each of the e-commerce stores,

        or

2. via website publication by posting copies of the Summonses, Complaint, any Discovery, and all

        filings in this matter on Plaintiff’s designated website on www.ferencelaw.com.
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IT IS SO ORDERED.

                                            /s/ Christy Criswell Wiegand
                                            Christy Criswell Wiegand
                                            United States District Judge

cc courts@ferencelaw.com
   bmalkin@ferencelaw.com
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                      Pei IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


AQUAPAW BRANDS LLC,
                                    Plaintiff,
                                                                          Civil Action No.
v.
                                                                             21-cv-1784

YAN-PEN, et al.,                                                         (Judge Wiegand)
                                    Defendants.



                            PRELIMINARY INJUNCTION ORDER

         WHEREAS, Plaintiff filed an Ex Parte Application for the following: 1) a

temporary restraining order; 2) an order restraining assets and Merchant Storefronts (as

defined infra); 3) an order to show cause why a preliminary injunction should not issue;

and 4) an order authorizing expedited discovery against the Defendants identified in

Schedule “A” to the Complaint and attached hereto (collectively, the “Defendants”) 1. The

Court has considered the Application, the evidence in the record, and the applicable law.

         WHEREAS, Plaintiff filed an Ex Parte Motion for An Order Authorizing

Alternative Service on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3);

         WHEREAS, On December 10, 2021, the Court entered the following Orders:

         (A) (1) a temporary restraining order; (2) an order restraining assets and Merchant

Storefronts, (3) an order to show cause why a preliminary injunction should not issue; and

(4) an order authorizing expedited discovery against all of the Defendants identified on the

1
  As alleged in the Complaint, are knowingly and intentionally promoting, advertising, distributing, offering
for sale, and selling patent infringing versions of Plaintiff’s Slow Treater® dog soothing device (the
“Infringing Product”) which infringe at least one claim of U.S. Patent No. 10,834,894 (“Plaintiff’s Patent” or
“the ‘894 patent”) throughout the United States, including within the Commonwealth of Pennsylvania and
this district, by operating fully interactive, commercial Internet based e-commerce stores accessible in
Pennsylvania, via at least the Amazon.com, eBay.com, Wish.com or Aliexpress.com Internet market place
platforms operating using the seller identities identified on Schedule “A” to the Complaint (the “Seller IDs”).
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attached Schedule “A”, and the Third Party Service Providers and Financial Institutions, in

light of Defendants’ intentional and willful offerings for sale and/or sales of Infringing

Products (“Application”); and

        (B) Order Authorizing Alternative Service on Defendants Pursuant to Federal Rule

of Civil Procedure 4(f)(3) (“the Alternative Service Order”);

        WHEREAS, upon Plaintiff’s motion, in order to give Plaintiff additional time to

serve the Defendants, and to provide the Defendants with sufficient time to respond to the

Show Cause Order, this Court extended the initial TRO, re-set the briefing schedule, and

re-scheduled the Show Cause Hearing multiple times such that the Show Cause Hearing

was set for January 21, 2022.

        WHEREAS, pursuant to the terms of the Alternative Service Order, the Defendants

have been served with notice of this Show Cause Hearing; and

        WHEREAS, on January 21, 2022, Plaintiff appeared for the Order to Show Cause

Hearing, however no Defendants appeared. Further, none of the Third-Party Service

Provider(s) or Financial Institution(s) appeared.

                                              ORDER

I.      Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, the injunctive relief

     previously granted on December 10, 2021, and extended by further Order, shall remain

     in place through the pendency of this litigation, and issuing this Preliminary Injunction

     (hereafter “PI Order”) is warranted under 35 U.S.C. § 283 and Federal Rules of Civil

     Procedure 64 and 65.


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Accordingly, each Defendant, its officers, directors, employees, agents, subsidiaries,

distributors, and all persons in active concert or participation with any Defendant having

notice of this Order are hereby restrained as follows:

    (1) from (a) their unauthorized and unlicensed use of Plaintiff’s Patent, distribution,

        marketing, advertising, offering for sale, or sale of any Infringing Products; and (b)

        shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner products that

        infringe upon at least one claim of the Plaintiff’s Patent;

    (2) from secreting, concealing, destroying, altering, selling off, transferring or

        otherwise disposing of and/or dealing with any computer files, data, business

        records, documents or any other records or evidence relating to their User

        Accounts,2 Merchant Storefronts3 or any money, securities or other property or

        assets of Defendants (hereinafter collectively referred to as “Defendants’ Assets”);

    (3) effecting assignments or transfers, forming new entities or associations, or creating

        and/or utilizing any other platform, User Account, Merchant Storefront or any other

        means of importation, exportation, advertising, marketing, promotion, distribution,

        and/or display for the purposes of circumventing or otherwise avoiding the

        prohibitions set forth in this Order;

2
    As defined in the Complaint, a “User Account” is any and all accounts with online marketplace platform,
    including, Amazon.com, eBay.com, aliexpress.com and wish.com, as well as any and all as yet
    undiscovered accounts with additional online marketplace platforms held by or associated with
    Defendants, their respective officers, employees, agents, servants and all other persons in active concert
    with any of them.
3
    As defined in the Application, a “Merchant Storefront” is any and all User Accounts through which
    Defendants, their respective officers, employees, agents, servants and all persons in active concert or
    participation with any of them operate storefronts to manufacture, import, export, advertise, market,
    promote, distribute, display, offer for sale, sell and/or otherwise deal in products which are held by or
    associated with Defendants, their respective officers, employees, agents, servants and all persons in
    active concert or participation with any of them.
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(4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors,

   and all persons in active concert or participation with any Defendant having notice

   of this Order shall immediately cease offering for sale the Infringing Products

   within metatags or other markers within website source code, from use on any web

   page (including as the title of any product listing), from any advertising links to

   other websites, from search engines’ databases or cache memory, and any other

   form of use such terms or works which is visible to a computer user or serves to

   direct computer searches to Internet based e-commerce stores owned, or operated by

   each Defendant, including the Merchant Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or Merchant

   Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the use of any

   User Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps

   necessary to retrieve computer files relating to the use of the User Accounts and/or

   Merchant Storefronts under their Seller IDs that may been deleted before the entry

   of this Order;

(7) upon receipt of notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace

   platforms, including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com

   (“Aliexpress”), Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a

   Amazon.com (“Amazon”),          eBay, Inc. d/b/a eBay.com (“eBay”), and Context

   Logic, Inc d/b/a wish.com (“Wish”), and Shopify Inc, (“Third Party Service

   Provider(s)’’) and AliPay US Inc. d/b/a Alipay.com (“Alipay”), Amazon Payments,

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        Inc. d/b/a pay.amazon.com, and PayPal, Inc. d/b/a paypal.com (“PayPal”)

        (“Financial Institution(s)”), and their related companies and affiliates, shall

        immediately identify and restrain all funds, as opposed to ongoing account activity,

        in or which are hereafter transmitted into the accounts related to the Defendants as

        identified on Schedule “A” hereto, as well as all funds in or which are transmitted

        into (i) any other accounts of the same customer(s); (ii) any other accounts which

        transfer funds into the same financial institution account(s), and/or any of the other

        accounts subject to this Order; and (iii) any other accounts tied to or used by any of

        the Seller IDs identified on Schedule “A” hereto;4

    (8) upon receipt of notice of this Order, Defendants and all financial institutions,

        payment processors, banks, escrow services, money transmitters, or marketplace

        platforms, including but not limited to the Third-Party Service Provider(s) and the

        Financial Institution(s), shall immediately divert to a holding account for the trust of

        the Court all funds in or which are hereafter transmitted into all accounts related to

        Defendants identified in Schedule “A” hereto, and associated payment accounts,

        and any other accounts for the same customer(s) as well as any other accounts

        which transfer funds into the same financial institution account(s) as any other

        accounts subject to this Order;

    (9) The Third-Party Service Provider(s) and Financial Institution(s) shall further, within

        five (5) business days of receiving this Order, provide Plaintiff’s counsel with all

        data that details (i) an accounting of the total funds restrained and identifies the



4
    This Order contemplates that discovery may reveal that Defendants may have other user accounts
    operated by other Third-Party Service Providers and Financial Institutions and that the additionally
    discovered Third Party Service Providers and Financial Institutions, once identified and provided with
    notice, shall also be subject to the discovery, restraints and injunctions set forth in this Order.
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   financial account(s) which the restrained funds are related to, and (ii) the account

   transactions related to all funds transmitted into financial account(s) which have

   been restrained. Such restraining of the funds and the disclosure of the related

   financial institution account information shall be made without notice to the account

   holders, until after those accounts are restrained. No funds restrained by this Order

   shall be transferred or surrendered by any Third-Party Service Provider or Financial

   Institution for any purpose (other than pursuant to a chargeback made pursuant to

   that Third Party Service Provider or Financial Institution’s security interest in the

   funds) without express authorization of this Court;

(10) Upon Plaintiff’s request, any Internet marketplace who is provided with notice of

   this Order, including but not limited to the Third-Party Service Provider(s) and

   Financial Institution(s), shall immediately cease fulfillment of and sequester

   Defendants’ inventory assets corresponding to the Seller IDs identified on Schedule

   “A” hereto in its inventory, possession, custody, or control, and hold such goods in

   trust for the Court during pendency of this action;

(11) this Order shall apply to the Seller IDs, associated Accounts and Merchant

   Storefronts, and any other seller identification names, Accounts or Merchant

   Storefronts, Third Party Service Provider or Financial Institution accounts which are

   being used by Defendants for the purpose of infringing on at least one claim of the

   Plaintiff’s Patent;

(12) Defendants and all financial institutions, payment processors, banks, escrow

   services, money transmitters, or marketplace platforms, including but not limited to




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      the Third-Party Service Provider(s) and the Financial Institution(s), subject to this

      Order may petition the Court to modify the asset restraint set out in this Order; and

   (13) this PI Order and the Alternative Service Order shall remain in effect during the

      pendency of this action or until further order of the Court, and Plaintiff shall serve

      the Defendants with a copy of this PI Order in accordance with the Alternative

      Service Order.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiff’s

   request, any Internet marketplace who is provided with notice of this Order, including

   but not limited to the Third-Party Service Providers and Financial Institutions, is hereby

   restrained and enjoined from engaging in any of the following acts or omissions

   pending the hearing and determination of Plaintiff’s Application for a preliminary

   injunction, or until further order of the Court:

   (1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

      paying Defendants’ Assets from or to financial accounts associated with or utilized

      by any Defendant or any Defendant’s User Accounts or Merchant Storefront(s)

      (whether said account is located in the U.S. or abroad) (“Defendants’ Financial

      Accounts”) until further ordered by this Court; and

   (2) within (5) days after receiving notice of this Order, providing services to

      Defendants, Defendants' User Accounts and Defendants' Merchant Storefronts,

      including, without limitation, continued operation of Defendants' User Accounts

      and Merchant Storefronts, and any other listings linked to the same sellers or linked

      to any other alias seller identification names being used and/or controlled by

      Defendants.

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C. IT IS HEREBY ORDERED, as sufficient cause has been shown, that, the following

      products as pictured in the attached Schedule “B” are either made, used by, offered for

      sale or sold into the United States contain every element or equivalent of at least one

      claim of the Plaintiff’s Patent, consequently, upon Plaintiffs’ request, within no later

      than five (5) calendar days of Plaintiffs’ request all online marketplaces, including but

      not limited to, Amazon.com, ebay.com, aliexpress.com, and wish.com, shall upon

      receipt of this Order, suspend, block, tombstone, and/or delete any and any product

      listings identified by the Plaintiff as either identical or substantially similar, to the

      above-described products in Schedule “B”, whether sold by the Defendant or other

      persons or entities.

II.      Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:

      (1) Plaintiff may propound interrogatories pursuant to Rules 26 and 33 of the Federal

         Rules of Civil Procedure, and Defendants, their respective officers, employees,

         agents, servants and attorneys, and all persons in active concert or participation with

         any of them, who receive actual notice of this Order, shall provide written responses

         under oath to such interrogatories within fourteen (14) days of service to Plaintiff’s

         counsel.

      (2) Plaintiff may serve requests for the production of documents pursuant to FRCP 26

         and 34, and Defendants, their respective officers, employees, agents, servants and

         attorneys, and all persons in active concert or participation with any of them, who

         receive actual notice of this Order, shall produce all documents responsive to such

         requests within fourteen (14) days of service to Plaintiff’s counsel.

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   (3) Plaintiff may serve requests for admissions pursuant to FRCP 26 and 36, and

      Defendants, their respective officers, employees, agents, servants and attorneys, and

      all persons in active concert or participation with any of them, who receive actual

      notice of this Order, shall provide written responses under oath to such requests

      within fourteen (14) days of service to Plaintiff’s counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen

   (14) days of receiving actual notice of this Order, Defendants and all financial

   institutions, payment processors, banks, escrow services, money transmitters, or

   marketplace platforms, including but not limited to the Third Party Service Provider(s)

   and the Financial Institution(s), shall provide to Plaintiff’s counsel all documents and

   records in their possession, custody or control (whether located in the U.S. or abroad)

   relating to Defendants’ User Accounts and Defendants’ Merchant Storefronts,

   including, but not limited to, documents and records relating to:

   (1) any and all User Accounts and Defendants’ Merchant Storefronts and account

      details, including, without limitation, identifying information and account numbers

      for any and all User Accounts and Defendants’ Merchant Storefronts that

      Defendants have ever had and/or currently maintain with the respective Third Party

      Service Provider;

   (2) the identities, location and contact information, including any and all e-mail

      addresses of Defendants that were not previously provided;

   (3) the Defendants’ methods of payment, methods for accepting payment and any and

      all financial information, including, but not limited to, information associated with

      Defendants’ User Accounts and Defendants’ Merchant Storefronts, a full

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          accounting of Defendants’ sales history and listing history under such accounts and

          Defendants’ Financial Accounts associated with Defendants’ User Accounts and

          Defendants’ Merchant Storefronts; and

       (4) Defendants’ unauthorized and unlicensed use of Plaintiff’s Patent.

III.      Security Bond

          IT IS FURTHER ORDERED that the $5,000.00 bond posted by Plaintiff shall

remain with the Court until a final disposition of this case or until this PI Order is

terminated.

SO ORDERED.

SIGNED this 21st day of January, 2022.
Pittsburgh, Pennsylvania



                                                 /s/ Christy Criswell Wiegand   .
                                                 Christy Criswell Wiegand
                                                 United States District Judge




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 Schedule “A” Defendants with Store Name and Seller ID

     Defendant      Defendant/Store Name             Seller ID
        No.
         1                YAN-PENG                APRS7L5QB3O6I
         2               AUTOKCAN-US             A3CD3KMLDAEHLY
         3             BEST AUDIO PARTS           AM3THD1YB84UJ

         5                CAIFANGUS              A20SWMYVN9FY22
         6                 CARHERSV               A3D24GB5VLY188
         7                  CHEEGLU               AXO9CM8UP5A34
         8         DAEG'S CONVENIENT STORE        A12ALJ5QHA3FZG
         9               DON GATO INC               AJX6I0JKFP45
         10         DONGPACHUSHANGMAO             A2JRGK545PH87B
         11              EASY FASHION            A3QUKMC3D0EOOS
         12                 EAVPORT               A2QYI06Z4G0DHT
         13                 HICOMIE              A3F2R1VQ18MFWS
         14                    H-JIA              A17ANGFIBHSJIK
         15                  HRZESZ                AHJ885HOGU3Q0
         16              HUIJIAJUNHAO             A26SYHFTNYI47H
         17                JONDARLA               A8UAMTZJ5ZAJD
         18              KINGWORAUS               A38ATRQ77SF83A
         19                   LAVILI               A5L1OB518V6G3
         20                 LITE LIFE            A17THLV21WLLNN
         21         MARKHOR TRADERS INC          A1IQPNNBWJPTMK
         22               MARRYMOO                A2B0MBNGJV21ZL
         23                  MATIER              A3TJ2NMQTL7NBR
         24              MOZART CASA             A3DMEUGJ06OBHE
         25                  PQZENG              A1MFL2UY5ZYBUR
         26            PUSNER LUCEWIN             A2VAV82LIPFH8Z
         27                    SEIS               A2J48VPNHFM62H
         28                SHUIRONG              A3K1Q6FWAM5WGS
         29            STARLIGHT SONIC           A14TXAOY4LDXAK
         30               TRUE GLORY              ABYMYWJLRBHIZ
         31                UNISONPET             A1YK7QZYEGZR0X
         32                VCOSTORE               A2S8HU9W2R12U
         33               VECT TOOLS             AYEGYN0BURYEQ
         34             VIRTUALUNIQUE            A27YNWJYO0XQ0Y
         35                   XMXJT                ASL7SI7FWUNX6
         36                   YWZSP               AR8EW24K5FSKL




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                        Schedule “B”
            Defendant/Store Names and Infringing
                          Products

Defendant
             Defendant/Store Name             Screen shot
   No
    1               YAN-PENG




    2              Autokcan-US




    3             Best Audio Parts




    4           Billie Bean Products




    5               CaiFangUS




    6                Carhersv




    7                 Cheeglu




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    8          Daeg's Convenient Store




    9               Don Gato Inc




    10        DONGPACHUSHANGMA
                      O




    11            EASY FASHION




    12               EAVPORT




    13                Hicomie




    14                 H-Jia




    15                HRZESZ




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    16           HUIJIAJUNHAO




    17               Jondarla




    18             KingworaUS




    19               LAVILI




    20               Lite Life




    21         Markhor Traders INC




    22              MarryMoo




    23                Matier




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    24              Mozart Casa




    25                pqzeng




    26            Pusner lucewin




    27                 SEIS




    28              SHUIRONG




    29             Starlight Sonic




    30              True Glory




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  31              UnisonPet




  32               Vcostore




  33            VECT TOOLS




  34           VIRTUALUNIQUE




  35               XMXJT




  36               YWZSP
